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 5                            UNITED STATES DISTRICT COURT
                        for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES of AMERICA ,                      )
                                                      )
 8                               Plaintiff,           )
 9                         vs.                        )
                                                      )               CR06-280 TSZ
10
      HARRY SKEINS, JR,                               )
11                                                    )
                                 Defendant.           )            MINUTE ORDER
12
            The following Minute Order is made at the direction of the Court, the Honorable
13
     James P. Donohue, United States Magistrate Judge:
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15
            The request for a Waiver of Appearance by the defendant for Arraignment is DENIED.
16
     The defendant is directed to appear as scheduled on Thursday, August 24, 2006, at 9:00am, in
17
     Courtroom 12B, United States Courthouse, Seattle, Washington.
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23                                Dated this 21st day of August , 2006
24

25                                /S/ PETER H. VOELKER
                                   Deputy Clerk
26   MINUTE ORDER
